Case 2:16-cv-03493-FMO-AS Document 262 Filed 02/18/21 Page 1 of 1 Page ID #:9468

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.          CV 16-3493 FMO (ASx)                                Date    February 18, 2021
 Title             City of Long Beach v. Monsanto Company, et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                          Maria Bustillos                         None
                Deputy Clerk                  Court Reporter / Recorder                Tape No.
         Attorneys Present Telephonically for              Attorneys Present Telephonically for
                     Plaintiff(s):                                    Defendant(s):
                      John P. Fiske                                   Mark D. Anstoetter
                     P. Scott Summy                                    Brent Dwerlkotte
                      Mark Ankcorn
 Proceedings:              Motion for Preliminary Approval of Class Action Settlement [256]

      For the reasons stated on the record, the pending motion (Document No. 256) is denied
without prejudice.

          Plaintiffs shall file a renewed motion no later than March 19, 2021.




                                                                                  1         :      06
                                                        Initials of Preparer               vdr




CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 1 of 1
